                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                 ROANOKE for CHARLOTTESVILLE DIVISION


                                                        Action No: 319CV38
JOHN DOE                                                Date: 06/27/2019
vs.                                                     Judge: Hon. Glen Conrad
                                                        Court Reporter: JoRita Meyer
RECTOR AND BOARD OF VISITORS UVA
                                                        Deputy Clerk: Susan Moody



Plaintiff Attorney(s)                           Defendant Attorney(s)
Rhonda Quagliana, Esq.                          Barry Meek, Esq.



                                   LIST OF WITNESSES

PLAINTIFF/GOVERNMENT:                           DEFENDANT:
None                                            None



PROCEEDINGS:
Parties present by counsel for conduct of teleconference on Motion for Temporary Restraining
Order/Preliminary Injunction [3]

Oral Argument and Rebuttal/comments by court as reflected in the record. Order to follow asap.




Time in Court: 3:22-4:19 pm 57 mins.
